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                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                   )      CASE NO. 5:09CR157
                                            )
              PLAINTIFF                     )      JUDGE PETER C. ECONOMUS
                                            )
       V.                                   )
                                            )
MARCUS ID-DEEN,                             )
                                            )      ORDER
              DEFENDANT.                    )
                                            )


        This matter is before the Court upon Magistrate Judge Benita Y. Pearson’s

Report and Recommendation that the Court ACCEPT Defendant Marcus Id-Deen’s

(“Defendant”) plea of guilty and enter a finding of guilty against Defendant. (Dkt. #

56).

       On April 1, 2009, the government filed an Indictment against Defendant. (Dkt.

# 1). On July 8, 2009, this Court issued an order assigning this case to Magistrate Judge

Pearson for the purpose of receiving Defendant’s guilty plea. (Dkt. # 51).

       On July 14, 2009, a hearing was held in which Defendant entered a plea of guilty

to Count 1 of the Indictment, conspiracy to deal in counterfeit obligations and securities

or securities, in violation of 18 U.S.C. § 371. Magistrate Judge Pearson received

Defendant’s guilty plea and issued a Report and Recommendation (“R&R”)

recommending that this Court accept the plea and enter a finding of guilty. (Dkt. # 56).
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          Neither party objected to the Magistrate Judge’s R&R in the ten days after it was

issued.

          On de novo review of the record, the Magistrate Judge’s R&R is adopted. The

Defendant was found to be competent to enter a plea. The Defendant understood his

constitutional rights. He is aware of the consequences of entering a plea. There is an

adequate factual basis for the plea. The Court finds that the plea was entered

knowingly, intelligently, and voluntarily. The Defendant’s plea of guilty is approved.

          Therefore, the Defendant is adjudged guilty of Count 1 of the Indictment,

conspiracy to deal in counterfeit obligations and securities or securities, in violation of

18 U.S.C. § 371. The sentencing will be held on November 10, 2009, at 10:00 a.m.

          IT IS SO ORDERED.

                                      /s/ Peter C. Economus - July 30, 2009
                                      PETER C. ECONOMUS
                                      UNITED STATES DISTRICT JUDGE
